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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 vs.                                            §                     2:99CR00003-006
                                                §
 KELVIN BERNARD WORTH                           §


                           REPORT AND RECOMMENDATION OF
                         THE UNITED STATES MAGISTRATE JUDGE

        On July 5, 2007, the court held a hearing on the government’s Petition to Revoke Supervised

 Release. The government was represented by Assistant United States Attorney Mr. Richard Moore.

 The defendant was represented by Mr. Craig Henry.

        Kelvin Worth was sentenced on September 28, 1999, before The Honorable U.S. District

 Judge David Folsom of the Eastern District of Texas after pleading guilty to the offense of

 Possession of Cocaine Base With Intent to Distribute, a Class B felony. The offense carried a

 statutory maximum imprisonment term of not more than forty (40) years.               The guideline

 imprisonment range, based on a total offense level of 23 and a criminal history category of V, was

 84 to 105 months. Kelvin Bernard Worth was sentenced to eighty-four (84) months in prison

 followed by four (4) years supervised release subject to the standard conditions of release, plus

 special conditions to include participation in a program of testing and treatment for drug abuse. On

 May 24, 2004, Kelvin Bernard Worth completed his period of imprisonment and began service of

 the supervision term.

        On May 15, 2006, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following condition: The defendant shall not commit another

 federal, state, or local crime. Specifically, the government alleges as follows: On or about
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 November 8, 2004, the defendant distributed cocaine base.

        The court scheduled a revocation hearing for July 5, 2007. At the hearing on the

 government’s petition, the government introduced as Exhibit 1 a criminal judgment against Kelvin

 Barnard Worth in case number 2:05CR00003-003 for Possession with Intent to Distribute and

 Distribution of Cocaine Base. In that case, Kelvin Barnard Worth plead guilty to the aforementioned

 count of the indictment. The government also introduced as Exhibit 2 a judgment from the U.S.

 Court of Appeals for the Fifth Circuit affirming the district court’s judgment in case number

 2:05CR00003-003. Based on the defendant’s recent conviction for Possession with Intent to

 Distribute and Distribution of Cocaine Base, the court found that the defendant did violate his

 conditions of supervised release as alleged in the U.S. Probation Office’s petition.

        The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for a term of thirty (30) months, consecutive to the term of

 imprisonment the defendant is currently serving in case number 2:05CR00003-003, with no term

 of supervised release to follow such term of imprisonment. Based on the foregoing, it is

        RECOMMENDED that the court find that the defendant violated the terms of his

 supervised release. It is further

        RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

        RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of thirty (30) months, consecutive to the term of imprisonment the

 defendant is currently serving in case number 2:05CR00003-003, with no term of supervised release

 to follow such term of imprisonment.




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        A party's failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79

 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

         SIGNED this 5th day of July, 2007.




                                                      ___________________________________
                                                      CHARLES EVERINGHAM IV
                                                      UNITED STATES MAGISTRATE JUDGE




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